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                              UNITED STATES DISTRICT COURTtffl JUt 24                     t>H f2: 57
                                         FOR THE
                                  DISTRICT OF VERMONT

UNITED STATES
     ,      . OF AMERICA                           )
                                                   )
                v.                                 )          Crim. No. 2:23~mj-00011-kjd
                                                   )
CATHERINE TEIXEIRA,                                )
          Defendant.                               )

                                               ORDER

         The United States has moved for an arrest warrant and for a show-cause hearing regarding

revocation of defendant CATHERINE TEIXEIRA pretrial release. The motion is based on the

defendant's alleged failure to complete drug treatment on or about July 20, 2023. The motion of

the United States for an arrest warrant is granted, and a warrant shall be issued. Once arrested, a

hearing will be scheduled to provide the defendant with 8? opportunity to show cause why her

conditions of release should not be revoked.

         The United States also seeks to seal this Order, the arrest warrant, its motion, and related

documents and docket entries until the arrest of the defendant. For good cause shown, that is, to

protect the safety of the arresting officers and prevent the potential flight of the defendant, the

motion to seal is granted. It is ordered that the Arrest Warrant, related motion, this Order, and the

corresponding docket entries are hereby sealed until the arrest of the defendant.
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         Dated at Burlington, in the District of Vermont, this 2 '1" day of July, 2023.




                                               United States District Court
                                               District of Vermont
